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                    UNITED STATES DISTRICT COURT
          FOR THE Northern District of Illinois − CM/ECF NextGen 1.7.1.1
                               Eastern Division

UNITED STATES OF AMERICA
                                         Plaintiff,
v.                                                       Case No.: 1:15−cr−00487
                                                         Honorable Matthew F. Kennelly
Adel Daoud
                                         Defendant.



                        NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Friday, June 2, 2023:


        MINUTE entry before the Honorable Matthew F. Kennelly as to Adel Daoud: In
person status hearing held on 6/2/2023. A telephonic status hearing is set for 6/16/2023 at
1:15 p.m. The following call−in number will be used for the hearing: 888−684−8852,
access code 746−1053. Persons granted remote access to proceedings are reminded of the
general prohibition against photographing, recording, and rebroadcasting of court
proceedings. Violation of these prohibitions may result in sanctions, including removal of
court issued media credentials, restricted entry to future hearings, denial of entry to future
hearings, or any other sanctions deemed necessary by the Court. Mailed notice. (mma, )




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